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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION




UNITED STATES OF AMERICA,                       )   CASE NO. 5:04CR595-6
                                                )
       Plaintiff,                               )
                                                )
vs.                                             )   Judge John M. Manos
                                                )
ANDRES HATZILOULOUDES,                          )
                                                )
       Defendant.                               )   ORDER




       Pursuant to the Memorandum of Opinion filed in the above-captioned case, the Motion to

Re-Admit to Bond and Allow Pretrial Release (Docket No. 253) is GRANTED. The Defendant shall

be released on a $25,000 corporate surety bond and a $50,000 personal surety bond.

       IT IS SO ORDERED




Date: May 4, 2005                            _/s/ John M. Manos_____________
                                             UNITED STATES DISTRICT JUDGE
